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                           UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF MASSACHUSETTS


                                           )       Civil Action No. 1:25-cv-10495
Svitlana Doe, et al.,                      )
                                           )
              Plaintiffs,                  )
                                           )
v.                                         )
                                           )
Kristi Noem, in her official capacity as   )
Secretary of Homeland Security, et al.,    )
                                           )
              Defendants.                  )
                                           )

NOTICE OF APPEAL TO THE U.S. COURT OF APPEALS FOR THE FIRST CIRCUIT

        Notice is hereby given that the Defendants appeal to the United States Court of Appeals

for the First Circuit from the Court’s order granting a stay of parole terminations (Doc. No. 97)

and the accompanying class-certification order (Doc. No. 98) entered in this action on April 14,

2025.

Date: April 18, 2025                               Respectfully submitted,

                                                   YAAKOV M. ROTH
                                                   Principal Deputy Assistant Attorney General

                                                   DREW ENSIGN
                                                   Deputy Assistant Attorney General

                                                   BRIAN C. WARD
                                                   Acting Assistant Director

                                                   /s/ Katherine J. Shinners
                                                   KATHERINE J. SHINNERS
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                                   DANIEL SCHUTRUM-BROWARD
                                   Trial Attorneys




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                                 CERTIFICATE OF SERVICE

       I, Katherine J. Shinners, hereby certify that on April 18, 2025, I filed this document through

the ECF system, through which notice will be sent electronically to the registered participants as

identified on the Notice of Electronic Filing (NEF).


                                                       /s/ Katherine J. Shinners
                                                       Katherine J. Shinners
                                                       Senior Litigation Counsel
                                                       U.S. Department of Justice




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